Case 15-01145        Doc 6318     Filed 01/13/17 Entered 01/13/17 17:38:32          Desc Main
                                  Document      Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                      )
In re:                                                ) Chapter 11
                                                      )
CAESARS ENTERTAINMENT OPERATING                       ) Case No. 15-01145 (ABG)
COMPANY, INC., et al.,1                               )
                                                      )
                       Debtors.                       ) (Jointly Administered)
                                                      )

       NOTICE OF FILING OF DEBTORS’ THIRD AMENDED JOINT PLAN OF
    REORGANIZATION PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

        PLEASE TAKE NOTICE that on December 29, 2016, the Debtors filed the Debtors’
Third Amended Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code
[Docket No. 6191] (the “Plan”) with the United States Bankruptcy Court for the Northern
District of Illinois (the “Court”).

       PLEASE TAKE FURTHER NOTICE that the Debtors hereby file a revised Debtors’
Third Amended Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code
(the “Modified Plan”). A copy of the Modified Plan is attached hereto as Exhibit 1.

        PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit 2 is a cumulative
redline of the Modified Plan reflecting cumulative changes from the Plan.

        PLEASE TAKE FURTHER NOTICE that copies of the Modified Plan and all
documents filed in these chapter 11 cases are available free of charge by visiting
https://cases.primeclerk.com/CEOC or by calling (855) 842-4123 within the United States or
Canada or, outside of the United States or Canada, by calling +1 (646) 795-6969. You may also
obtain copies of any pleadings by visiting the Court’s website at http://www.ilnb.uscourts.gov in
accordance with the procedures and fees set forth therein.




1    A complete list of the Debtors and the last four digits of their federal tax identification
     numbers may be obtained at https://cases.primeclerk.com/CEOC.



KE 45037890
Case 15-01145     Doc 6318   Filed 01/13/17 Entered 01/13/17 17:38:32      Desc Main
                             Document      Page 2 of 2



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KE 45037890
